Case 2:19-cv-06941-MWF-SK Document 19 Filed 09/09/19 Page 1 of 10 Page ID #:124




   1 KENNETH S. MILLER (State Bar No. 285297)
     ksm@severson.com
   2 SEVERSON & WERSON
     A Professional Corporation
   3 The Atrium
     19100 Von Karman Avenue, Suite 700
   4 Irvine, California 92612
     Telephone: (949) 442-7110
   5 Facsimile: (949) 442-7118
   6 AUSTIN B. KENNEY (State Bar No. 242277)
     abk@severson.com
   7 SEVERSON & WERSON
     A Professional Corporation
   8 One Embarcadero Center, Suite 2600
     San Francisco, California 94111
   9 Telephone: (415) 398-3344
     Facsimile: (415) 956-0439
  10
     Attorneys for Defendant
  11 BANK OF AMERICA, N.A.
  12                               UNITED STATES DISTRICT COURT
  13           CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
  14 JAMES CHEN,                                        Case No. 2:19-cv-06941-MWF-SK
                                                        Hon. Michael Fitzgerald
  15                      Plaintiff,                    Ctrm: 5A-First Street
  16             vs.                                    DEFENDANT BANK OF
                                                        AMERICA, N.A.’S NOTICE OF
  17 BANK OF AMERICA, N.A.;                             MOTION AND MOTION TO
     SYNCHRONY BANK N.A.; GEMINI                        DISMISS; MEMORANDUM OF
  18 TRUST COMPANY, LLC; and DOES                       POINTS AND AUTHORITIES
     1 – 100 Inclusive,
  19                                                    Date: October 21, 2019
                  Defendants.                           Time: 10:00 a.m.
  20                                                    Ctrm: First Street Courthouse, 5A
  21                                                    Action Filed: July 1, 2019
                                                        Removal Date: August 9, 2019
  22                                                    Trial Date:   None Set
  23
  24
  25
  26
  27
  28
       70001.0569/14990381.1
                          DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF MOTION AND MOTION TO DISMISS;
                                                            MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:19-cv-06941-MWF-SK Document 19 Filed 09/09/19 Page 2 of 10 Page ID #:125




   1                                       NOTICE OF MOTION
   2            PLEASE TAKE NOTICE that on October 21, 2019, at 10:00 a.m., or as soon
   3 thereafter as counsel may be heard before the Honorable Michael Fitzgerald in
   4 Courtroom 5A of the above-entitled court located at the First Street Courthouse, 350
   5 West First Street, Courtroom 5A, Los Angeles, California 90012, Defendant BANK
   6 OF AMERICA, N.A. (“Bank of America” or “Defendant”) will and hereby does
   7 move to dismiss Plaintiff’s Complaint and each of its counts.
   8            Defendants bring this motion pursuant to Fed. R. Civ. P. 12(b)(6) on the
   9 ground that the Complaint fails to allege any claim on which relief may be granted.
  10            The motion is based on this notice of motion and motion, the accompanying
  11 memorandum of points and authorities, the complaint, the records on file in this
  12 action, and any further briefs, evidence, authorities, or argument presented at or
  13 before the hearing of this motion.
  14            This motion is made following a conference with Plaintiff’s counsel pursuant
  15 to the Court’s standing orders, which occurred on September 5, 2019. On that date,
  16 Defense counsel called and spoke to Plaintiff’s counsel regarding Bank of
  17 America’s intention to file a motion to dismiss based on the argument that the
  18 California Commercial Code Claim is preempted by the EFTA, and that the EFTA
  19 claim is time-barred. An agreement regarding possible amendment to the Complaint
  20 was not reached at that time. This motion followed.
  21 DATED: September 9, 2019                    SEVERSON & WERSON
                                                 A Professional Corporation
  22
  23                                             By:        /s/ Kenneth S. Miller
                                                                 Kenneth S. Miller
  24
  25                                             Attorneys for Defendant BANK OF
                                                 AMERICA, N.A.
  26
  27
  28
       70001.0569/14990381.1                           2
                          DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF MOTION AND MOTION TO DISMISS;
                                                            MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:19-cv-06941-MWF-SK Document 19 Filed 09/09/19 Page 3 of 10 Page ID #:126




   1                       MEMORANDUM OF POINTS AND AUTHORITIES
   2                                        I. INTRODUCTION
   3            Plaintiff James Chen (“Plaintiff”) generally alleges that various online
   4 banking interfaces were hacked and accessed by an unauthorized user. The hacker
   5 allegedly wire-transferred approximately $497,000 from Plaintiff’s bank account
   6 held at co-Defendant Synchrony Bank, N.A. (“Synchrony”) into his Bank of
   7 America, N.A. (“BANA” or “Bank of America”) account. The hacker then accessed
   8 Plaintiff’s Bank of America account and wire-transferred the funds out of the
   9 BANA account to a bank account controlled by co-Defendant Gemini Trust Co.,
  10 LLC (“Gemini”) for the purchase of cryptocurrency. Additionally, Plaintiff alleges
  11 that the hacker transferred $18,000 from a Bank of America credit card to Plaintiff’s
  12 BANA account, and also had those funds wire-transferred to Gemini for the
  13 purchase of cryptocurrency.
  14            Plaintiff has asserted two causes of action against Bank of America based on
  15 the foregoing allegations for (1) violation of California’s Commercial Code section
  16 11201 (regarding unauthorized wire transfers), and for (2) violation of the Electronic
  17 Funds Transfer Act, 15 U.S.C. § 1693, et seq. (“EFTA”) However, both of
  18 Plaintiff’s claims fail as a matter of law.
  19            First, Plaintiff’s California Commercial Code claim fails because it is
  20 preempted and displaced by the EFTA. The official comments to section 11108
  21 makes clear that an unauthorized payment order which was fraudulently originated
  22 via online banking interface. Here, Plaintiff alleges that his a fraudster gained
  23 access to Plaintiff’s online banking interface, and thereafter directed the
  24 unauthorized transfer of funds into, and then out of, Plaintiff’s BANA account.
  25 Accordingly, Plaintiff’s commercial code claim fails outright as it is preempted by
  26 the EFTA.
  27
  28
       70001.0569/14990381.1                           3
                          DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF MOTION AND MOTION TO DISMISS;
                                                            MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:19-cv-06941-MWF-SK Document 19 Filed 09/09/19 Page 4 of 10 Page ID #:127




   1            Second, Plaintiff’s EFTA claim fails because it is time-barred. The statute of
   2 limitations for an EFTA claim is one year. Here, the majority of Plaintiff’s EFTA
   3 claims – indeed, all of the claims associated with the accessing and transferring of
   4 the actual funds – are time-barred. The actual transfers of money occurred between
   5 April 24, 2018, through June 12, 2018. Furthermore, the Complaint makes clear
   6 that Plaintiff was actually aware of the transfers as they occurred. Accordingly,
   7 Plaintiff was required to bring suit on or before June 12, 2019, regarding any of the
   8 allegedly fraudulent money transfers. Plaintiff filed suit on July 1, 2019.
   9 Accordingly, all of Plaintiff’s EFTA claims associated with the actual transfer of
  10 funds are time-barred, and fail as a matter of law.
  11            Finally, Plaintiff’s EFTA claims associated with BANA’s alleged failure to
  12 properly investigate the allegedly fraudulent transfers fails, as Plaintiff has failed to
  13 plead sufficient facts to state claim under that provision. Plaintiff’s Complaint
  14 consists of few factual allegations with respect to Plaintiff’s fraud claim and
  15 BANA’s denial of Plaintiff’s claim. Plaintiff merely alleges that Plaintiff submitted
  16 a fraud claim on June 30, 2018, that BANA sent various forms to Plaintiff regarding
  17 that fraud claim which Plaintiff completed and returned, and that Plaintiff’s claim
  18 was denied on July 12, 2018. However, Plaintiff does not allege or plead any facts
  19 to support his legal theory that BANA failed to investigate Plaintiff’s fraud claim in
  20 good faith, let alone that BANA willfully and knowingly concluded that the
  21 transfers were not in error without cause to so conclude. Plaintiff’s allegations that
  22 his fraud claim was denied, without any other factual allegation, is insufficient to
  23 state a claim under the EFTA.
  24            Accordingly, and for all the foregoing reasons, Plaintiff’s claims against
  25 BANA should be dismissed as a matter of law.
  26
  27
  28
       70001.0569/14990381.1                           4
                          DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF MOTION AND MOTION TO DISMISS;
                                                            MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:19-cv-06941-MWF-SK Document 19 Filed 09/09/19 Page 5 of 10 Page ID #:128




   1                           II. STANDARD ON MOTION TO DISMISS
   2            Under Federal Rule of Civil Procedure 12(b)(6), a party may challenge the
   3 sufficiency of the statement of the claim for relief. Bell Atl. Corp. v. Twombly, 550
   4 U.S. 544, 555 (2007). In deciding a Rule 12(b)(6) motion, the court must “accept as
   5 true all of the factual allegations set out in plaintiff’s complaint, draw inferences
   6 from those allegations in the light most favorable to plaintiff, and construe the
   7 complaint liberally.” Rescuecom Corp. v. Google Inc., 562 F.3d 123, 127 (2nd Cir.
   8 2009); see also Scott v. Ambani, 577 F.3d 642, 646 (6th Cir. 2009); Gregory v.
   9 Dillard’s, Inc., 565 F.3d 464, 496 (8th Cir. 2009). It need not, however, “accept as
  10 true a legal conclusion couched as a factual allegation.” Twombly, 550 U.S. at 555.
  11            In addition to the facts set forth in the complaint, matters that are properly the
  12 subject of judicial notice may also be considered when deciding a motion to dismiss
  13 for failure to state a claim. MGIC Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th
  14 Cir. 1986). In fact, the court can disregard allegations in the complaint if such
  15 allegations are contradicted by facts which may be judicially noticed by the court.
  16 Von Saher v. Norton Simon Museum of Art at Pasadena, 578 F.3d 1016, 1021-22
  17 (9th Cir. 2007). One example would be the court’s consideration of matters of
  18 public record. Intri-Plex Techs., Inc. v. Crest Grp., Inc., 499 F.3d 1048, 1052 (9th
  19 Cir. 2007).
  20            Accepting only the factual allegations set forth in a plaintiff’s complaint as
  21 true, the court must decide if plaintiff is entitled to some form of legal remedy.
  22 Twombly, 550 U.S. at 555. Granting a Rule 12(b)(6) motion to dismiss is proper
  23 where there is either a lack of a cognizable legal theory or the absence of sufficient
  24 facts to support a cognizable legal theory. Balistreri v. Pacifica Police Dep’t, 901
  25 F.2d 696, 699 (9th Cir. 1990); see also Robertson v. Dean Witter Reynolds, Inc., 749
  26 F.2d 530, 534 (9th Cir. 1984). A dismissal will also be proper if a complaint is
  27
  28
       70001.0569/14990381.1                           5
                          DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF MOTION AND MOTION TO DISMISS;
                                                            MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:19-cv-06941-MWF-SK Document 19 Filed 09/09/19 Page 6 of 10 Page ID #:129




   1 vague, conclusory and fails to set forth material facts in support of the allegations.
   2 Northstar Int’l v. Arizona Corp. Comm’n, 720 F.2d 578, 583 (9th Cir. 1983).
   3                                   III. STATEMENT OF FACTS
   4            Plaintiff’s Complaint alleges that during April 2018, a fraudster accessed
   5 Plaintiff’s online bank accounts at Synchrony and had approximately $497,000
   6 transferred from that Synchrony account to Plaintiff’s account with Bank of
   7 America, which had approximately $1,900 in it before the transfer. (Compl. ¶¶ 10,
   8 22-24.) The transfers from Plaintiff’s Synchrony account to Plaintiff’s BANA
   9 account occurred between April 26, 2018 and May 2, 2018. (Compl. ¶¶ 22-24.)
  10 Plaintiff also alleges that between April 16 and May 10, 2018, the fraudsters
  11 accessed Plaintiff’s BANA account and transferred approximately $405,745 from
  12 the BANA account to an account controlled by Gemini for the purchase of
  13 cryptocurrency. (Compl. ¶¶ 27-33, 37.) Plaintiff further alleges that on or about
  14 June 8, 2018, the fraudsters accessed Plaintiff’s BANA credit card, cash transferred
  15 $18,000 from the credit card into the BANA account, and then on June 12, 2018,
  16 transferred $18,923 from the BANA account to the account controlled by Gemini.
  17 (Compl. ¶¶ 34-36.)
  18            On or about June 30, 2018, Plaintiff contacted Synchrony regarding the
  19 transfer of the $497,000 from the Synchrony account. (Compl. ¶ 41.) On or about
  20 July 9, 2018, Plaintiff submitted a written fraud claim to Synchrony. (Compl. ¶ 44.)
  21            On June 30, 2018, Plaintiff initiated a fraud claim with BANA. (Compl. ¶
  22 45.) On or about July 12, 2018, BANA denied Plaintiff’s fraud claim. (Compl. ¶
  23 47.)
  24            Plaintiff filed this lawsuit on July 1, 2019.
  25      IV. PLAINTIFF’S COMMERCIAL CODE CLAIM IS PREEMPTED BY
                THE FEDERAL ELECTRONIC FUNDS TRANSFER ACT
  26
                Plaintiff’s first cause of action against BANA is for violation of California
  27
       Commercial Code section 11201, et seq. (Compl. ¶¶ 49-59.) Plaintiff’s claim fails,
  28
       70001.0569/14990381.1                           6
                          DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF MOTION AND MOTION TO DISMISS;
                                                            MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:19-cv-06941-MWF-SK Document 19 Filed 09/09/19 Page 7 of 10 Page ID #:130




   1 however, because Plaintiff’s state law claims are all preempted by the Electronic
   2 Funds Transfer Act (“EFTA”). The EFTA specifically preempts state laws that are
   3 inconsistent with the provisions of the EFTA. Pursuant to 15 U.S.C. § 1693q:
   4        This subchapter does not annul, alter, or affect the laws of any State
            relating to electronic funds transfers, except to the extent that those
   5        laws are inconsistent with the provisions of this subchapter, and then
            only to the extent of the inconsistency. A State law is not inconsistent
   6        with this subchapter if the protection such law affords any consumer is
            greater than the protection afforded by this subchapter.
   7
   8 (15 U.S.C. § 1993q; see also Bank of America v. City and County of San Francisco
   9 (9th Cir. 2002) 309F.3d 551, 565; Beaver v. Tarsadia Hotels (S.D.C.A. 2014) 29 F.
  10 Supp. 3d 1294, 1305.)
  11        Furthermore, the California Commercial Code specifically provides that it
  12 does not apply to funds transfers “any part of which is governed by [the EFTA].”
  13 (Cal. Comm. Code § 11108(a).) The comments to the UCC section 4A-108
  14 (California section 111081) make this preemption even clearer. Official comment 2,
  15 example 4 provides as follows:
  16        A person fraudulently originates an unauthorized payment order from a
            consumer’s account through use of an online banking interface. This
  17        transaction is an electronic funds transfer as defined in 15 U.S.C. Sec.
            1693a(7) and would be governed by EFTA and not Article 4A.
  18
  19 (UCC § 4A-108, cmnt 2, ex. 4.)
  20        This is exactly the fact pattern we have in this case. Plaintiff alleges that a
  21 fraudster accessed his various bank accounts via online interface and made the
  22 various fraudulent transfers. (Compl. ¶¶ 12, 15-16, 83.) This activity falls within
  23 the ambit of the EFTA, and Plaintiff’s commercial code claim accordingly fails.
  24 BANA’s motion to dismiss should accordingly be granted as to this cause of action
  25 without leave to amend.
  26   1
       California Commercial Code section 11108 is identical to the Uniform
  27 Commercial Code section 4A-108.
  28
     70001.0569/14990381.1                   7
                  DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF MOTION AND MOTION TO DISMISS;
                                                    MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:19-cv-06941-MWF-SK Document 19 Filed 09/09/19 Page 8 of 10 Page ID #:131




   1                             V. PLAINTIFF’S EFTA CLAIM FAILS
   2 A.         Plaintiff’s EFTA Claim Is Time-Barred
   3            The EFTA imposes a one-year statute of limitations on all claims involving
   4 consumer electronic funds transfers. (15 U.S.C. § 1693m(g).) The limitation period
   5 begins to run when the cause of action accrues – i.e., on the date the alleged
   6 violation occurred. The legal action must be brought within one year of the date of
   7 the electronic charge. (See Singer v. American Airlines Federal Credit Union (N.D.
   8 Cal. 2006) C05-04961 JCS, 2006 WL 3093759 *3.)
   9            Here, Plaintiff alleges that all of the alleged fraudulent electronic transfers
  10 occurred on or before June 12, 2018. (Compl. ¶¶ 22-36.) Plaintiff filed suit on July
  11 1, 2019. Accordingly, all of Plaintiff’s claims associated with the transfer of the
  12 funds themselves are time-barred, and fail as a matter of law.
  13            Furthermore, even if Plaintiff attempted to argue that the delayed discovery
  14 rule applied, or that the statute of limitations should be tolled, this argument fails
  15 based on Plaintiff’s own pleadings. Plaintiff alleges that he was aware of , and had
  16 submitted a fraud report to BANA on June 30, 2018. (Compl. ¶ 45.) Plaintiff
  17 accordingly admits he had actual knowledge knew of the alleged transfers more than
  18 a year before bringing suit. Plaintiff’s claim as it relates to the actual funds transfer
  19 is accordingly time-barred, and fails as a matter of law, and BANA’s motion to
  20 dismiss should be granted without leave to amend.
  21 B.         Plaintiff’s EFTA Claim Regarding BANA’s Investigation Fails
  22            The only transaction that is arguably outside the limitations period is
  23 Plaintiff’s claim that BANA did not recredit or investigate Plaintiff’s fraud claim in
  24 good faith, and willfully and knowingly concluded that the transfers were not in
  25 error without evidence to reach such a conclusion at the time of the investigation.
  26 (Compl. ¶ 86(d), (e).) However, these claims also fail for various reasons.
  27
  28
       70001.0569/14990381.1                           8
                          DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF MOTION AND MOTION TO DISMISS;
                                                            MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:19-cv-06941-MWF-SK Document 19 Filed 09/09/19 Page 9 of 10 Page ID #:132




   1            First, Plaintiff’s claim that BANA violated the law by failing to provisionally
   2 recredit Plaintiff’s account fails, as there is no requirement for BANA to do so under
   3 the EFTA. Section 1693f(c) provides that “in lieu of the requirements of
   4 subsections (a) and (b) . . . provisionally recredit the consumer’s account for the
   5 amount alleged to be in error. . . .” 15 U.S.C. § 1693f(c). Subsections (a) and (b)
   6 provide that upon notification by the consumer of an error, the financial institution
   7 must investigate the alleged error, and provide the consumer the results of such
   8 investigation within ten business days, and that, if it determines an error did occur,
   9 correct the error. 15 U.S.C. § 1693f(a), (b).
  10            Here, Plaintiff’s Complaint admits that BANA conducted an investigation
  11 into the alleged error, and provided Plaintiff a response within ten business days, as
  12 required by section 1693f(a). Compl. ¶ 45-47. Accordingly, BANA had no
  13 obligation to provisionally recredit Plaintiff’s account, and Plaintiff’s claim
  14 accordingly fails.
  15            Second, Plaintiff’s allegation that BANA failed to investigate Plaintiff’s claim
  16 in good faith and knowingly and willfully determined no error occurred without
  17 cause to so conclude is unsupported by any factual allegation whatsoever.
  18            It is black-letter law that the Court must accept as true all well-pleaded facts,
  19 however, the Court need not “accept as true a legal conclusion couched as a factual
  20 allegation.” Twombly, 550 U.S. at 555.
  21            Here, Plaintiff alleges no facts suggesting that BANA failed to investigate
  22 Plaintiff’s claim in good faith. The only factual allegations regarding the
  23 investigation process is that Plaintiff submitted a fraud claim to BANA (Compl. ¶
  24 45), BANA requested additional forms (Compl. ¶ 46), and BANA denied the claim
  25 (Compl. ¶ 47.) There are no factual allegations suggesting BANA failed to
  26 investigate the claim in good faith, or that BANA willfully concluded there was no
  27 error without evidence to reach such a conclusion. Plaintiff’s conclusory statements
  28
       70001.0569/14990381.1                           9
                          DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF MOTION AND MOTION TO DISMISS;
                                                            MEMORANDUM OF POINTS AND AUTHORITIES
Case 2:19-cv-06941-MWF-SK Document 19 Filed 09/09/19 Page 10 of 10 Page ID #:133




    1 to the contrary are insufficient to state a claim without any factual allegations
    2 supporting those conclusions. Accordingly, Plaintiff’s claim fails, and BANA’s
    3 motion to dismiss should be granted.
    4 C.         Plaintiff’s EFTA Claim Does Not Apply To The Transaction At Issue
                 Here
    5
    6            Finally, to the extend Plaintiff argues or claims that the transfers at issue here
    7 are wire transfers only, such transfers do not fall under the purview of the EFTA.
    8 The Code of Federal Regulations provides that an electronic funds transfer does not
    9 include “wire or other similar transfers. Any transfer of funds through Fedwire or
   10 through a similar wire transfer system that is used primarily for transfers between
   11 financial institutions or between businesses.” 12 C.F.R. § 205.3(c)(3); see Compl. ¶
   12 22.
   13            While Plaintiff is entitled to plead inconsistent legal theories, he may not
   14 plead inconsistent facts. Here, either Plaintiff’s EFTA claim is predicated on online
   15 computer transfers, or it is predicated on wire transfers. If the former, Plaintiff’s
   16 EFTA claim is time-barred as discussed above, and if the later, the EFTA does not
   17 apply to the transfers at all. In either case, Plaintiff’s EFTA claim fails and should
   18 be dismissed.
   19                                        VI. CONCLUSION
   20            For the foregoing reasons, BANA’s motion to dismiss should be granted in its
   21 entirety without leave to amend, and judgment entered in favor of BANA.
   22 DATED: September 9, 2019                    SEVERSON & WERSON
                                                  A Professional Corporation
   23
   24                                             By:        /s/ Kenneth S. Miller
                                                                  Kenneth S. Miller
   25
   26                                             Attorneys for Defendant BANK OF
                                                  AMERICA, N.A.
   27
   28
        70001.0569/14990381.1                           10
                           DEFENDANT BANK OF AMERICA, N.A.’S NOTICE OF MOTION AND MOTION TO DISMISS;
                                                             MEMORANDUM OF POINTS AND AUTHORITIES
